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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

NAYDA ALVAREZ,
  c/o Public Citizen Litigation Group
  1600 20th Street NW
  Washington, DC 20009,

LEONEL ROMEO ALVAREZ,                      Case No. 19-cv-404
  c/o Public Citizen Litigation Group
  1600 20th Street NW
  Washington, DC 20009,

YVETTE GAYTAN,                             COMPLAINT FOR DECLARATORY
  c/o Public Citizen Litigation Group      AND INJUNCTIVE RELIEF
  1600 20th Street NW
  Washington, DC 20009,

and

FRONTERA AUDUBON SOCIETY,
  1101 S. Texas Boulevard
  Weslaco, TX 78596,

                     Plaintiffs,

v.

DONALD TRUMP, President of the United
States,
        1600 Pennsylvania Avenue NW
        Washington, DC 20500,

UNITED STATES OF AMERICA,

and

PATRICK M. SHANAHAN, in his official
capacity as Acting Secretary of Defense,
       1000 Defense Pentagon
       Washington, DC 20301-1000,

                     Defendants.
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                                         INTRODUCTION

       1.      This action seeks declaratory and injunctive relief with respect to President Donald

Trump’s declaration of a national emergency, issued on February 15, 2019 (the Declaration), the

invocation of emergency powers stemming from that declaration, the resulting agency actions

taken or directed to be taken in the exercise of those claimed emergency powers, and the

expenditure of funds to construct a border wall in the absence of the constitutionally required

appropriations and statutory authorization for such expenditures. Rather than responding to an

emergency requiring immediate action, the Declaration seeks to address a long-running

disagreement between the President and Congress about whether to build a wall along the

southwestern border and Congress’s refusal to appropriate funds for that purpose. However, under

our Constitution, built on the principle of separation of powers, a disagreement between the

President and Congress about how to spend money does not constitute an emergency authorizing

unilateral executive action. The Declaration and the planned expenditure of Department of Defense

funds for construction of the wall exceed President Trump’s authority under the National

Emergencies Act, other statutes invoked by the President as authority to fund the wall, and the

Constitution. The invocation of emergency powers and exercise of those powers, and the diversion

of funds to build a wall, are thus contrary to law.

       2.      Plaintiffs include three landowners in South Texas who were informed that the

federal government would seek to build a wall on their properties if money were available in 2019

for construction of a border wall. The construction of a wall pursuant to the Declaration threatens

an imminent invasion of their privacy and the quiet enjoyment of their land, both during

construction and after. Plaintiffs also include a non-profit environmental organization in Texas,




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whose members’ ability to observe wildlife will be impaired by the construction of a border wall

and the resulting destruction of critical habitat.

                                   JURISDICTION AND VENUE

        3.      This Court has jurisdiction under 28 U.S.C. § 1331.

        4.      Venue is proper in this district because defendants include “officer[s] or

employee[s] of the United States or any agency thereof acting in [their] official capacity or under

color of legal authority, or an agency of the United States, or the United States,” at least one

defendant resides in this district, and a substantial part of the acts or omissions giving rise to the

claim occurred in this judicial district. 28 U.S.C. § 1391(e)(1).

                                              PARTIES

        5.      Plaintiff Nayda Alvarez is a resident of Starr County, Texas. Her home is on an

approximately one-acre lot that extends to the Rio Grande River. Her lot is adjacent to an

approximately six-acre tract of land bordering the river that has been in her family for at least five

generations. The back of her house is about 200 feet from the river. The land closest to the river is

unstable and subject to erosion.

        6.      In September 2018, Ms. Alvarez received a letter from U.S. Customs and Border

Protection (CBP) requesting written permission to enter upon her land for survey and site

assessment in anticipation of construction of “border security tactical infrastructure, such as border

walls, lighting, and roads.” In January 2019, Ms. Alvarez received another letter from CBP, stating

that CBP anticipated filing a “Declaration of Taking and Complaint in Condemnation” in the U.S.

District Court for the Southern District of Texas to gain right of entry upon her land.

        7.      On information and belief, the proposed border wall will pass through Ms.

Alvarez’s property and will be built within feet of the back of her house. According to maps of the



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proposed construction area, the border wall will be part of an approximately 150-foot wide

enforcement zone that will include a 25-foot wide maintenance road. The wall and the enforcement

zone will injure Ms. Alvarez in a number of ways. Specifically, she will be cut off from the portion

of her property that will be south of the wall, and she will lose the use and enjoyment of almost

her entire backyard. The movement of heavy machinery to construct the wall threatens to damage

her home. She will suffer an invasion of her privacy and the quiet enjoyment of her land both

during construction and after, when the view from her back door will be of a large wall, rather than

the river view that she currently enjoys.

       8.      Plaintiff Leonel Romeo Alvarez is a resident of Starr County, Texas. His home is

on an approximately one-acre lot that is adjacent to an approximately six-acre tract of land

bordering the Rio Grande River that has been in his family for at least five generations. The six-

acre lot was owned by his father, Requerio Alvarez, until his death. Mr. Alvarez is one of multiple

heirs with an ownership interest in that property. The land closest to the river is unstable and

subject to erosion.

       9.      In September 2018, Mr. Alvarez received a letter from CBP requesting written

permission to enter upon his land for survey and site assessment in anticipation of construction of

“border security tactical infrastructure, such as border walls, lighting, and roads.” In January 2019,

Mr. Alvarez received another letter from CBP, stating that CBP anticipated filing a “Declaration

of Taking and Complaint in Condemnation” in the U.S. District Court for the Southern District of

Texas to gain right of entry upon his land.

       10.     On information and belief, the proposed border wall will pass through Mr.

Alvarez’s property and the six-acre parcel of his family’s land adjacent to his lot. According to

maps of the proposed construction area, the border wall will be part of an approximately 150-foot



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wide enforcement zone. The wall and the enforcement zone will impact Mr. Alvarez in a number

of ways. Specifically, he will be cut off from his family’s property that will be south of the wall

and he will lose the use and enjoyment of that land. The movement of heavy machinery to construct

the wall threatens to damage his home. He will suffer an invasion of his privacy and the quiet

enjoyment of his land both during construction and after.

       11.     Plaintiff Yvette Gaytan is a resident of Starr County, Texas. Her home is on an

approximately one-half-acre lot near the Rio Grande River that she inherited from her father

following his death in 2015. The back of her house is about 400 feet from the river, and her lot

extends about 50 feet behind her house. The approximately 350-foot strip of land between Ms.

Gaytan’s property and the river was owned by her grandfather until his death. Ms. Gaytan is one

of multiple heirs with an ownership interest in that property. The land behind Ms. Gaytan’s house

sits on a bluff overlooking the river, and the land closest to the river is unstable and subject to

erosion.

       12.     In September 2018, Ms. Gaytan received letters at her home from CBP. The letters

were addressed to Ms. Gaytan’s late father and grandfather and requested written permission to

enter upon Ms. Gaytan’s and her family’s land for survey and site assessment in anticipation of

construction of “border security tactical infrastructure, such as border walls, lighting, and roads.”

In January 2019, Ms. Gaytan received another round of letters from CBP, stating that CBP

anticipated filing a “Declaration of Taking and Complaint in Condemnation” in the U.S. District

Court for the Southern District of Texas to gain right of entry upon her and her family’s land.

       13.     On information and belief, the proposed border wall will pass through Ms. Gaytan’s

property or her family’s property immediately south of her lot. According to maps of the proposed

construction area, the border wall will be part of an approximately 150 foot wide enforcement



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zone. Regardless of which parcel will contain the border wall and the enforcement zone, it will

impact Ms. Gaytan. Specifically, she will be cut off from the portion of her property that will be

south of the wall. The movement of heavy machinery to construct the wall threatens to damage

her home. She will suffer an invasion of her privacy and the quiet enjoyment of her land both

during construction and after, when the view from her back door will be of a large wall, rather than

the river view that she currently enjoys.

        14.     Plaintiff Frontera Audubon Society is a nonprofit, membership organization

founded in 1975. Frontera Audubon is headquartered on a 15-acre nature preserve in the City of

Weslaco, Texas, in the Rio Grande Valley. Frontera Audubon is dedicated to preserving wildlife

and the native habitat of the Rio Grande Valley.

        15.     The Rio Grande Valley is one of the most biologically diverse regions in North

America. It provides over three-quarters of America’s bird species with migratory, nesting, and

feeding habitat. It is home to many tropical bird species found nowhere else in the United States,

and is a major bird migration corridor that includes the convergence of two major flyways.

        16.     Many of Frontera Audubon’s members are avid birdwatchers and nature

enthusiasts. Beginning in 1980, Frontera Audubon began advocating for the creation of a wildlife

corridor along the last 250 miles of the Rio Grande River. Wildlife corridors are tracts of land or

habitat that are linked and allow wildlife to travel from one location to another to find food, shelter,

a mate and a place to raise their young. A wildlife corridor is particularly critical in the Rio Grande

Valley, where approximately 95 percent of the native habitat has been cleared for agriculture or

development.

        17.     Assisted by the efforts of Frontera Audubon and others, the Lower Rio Grande

Valley National Wildlife Refuge has been painstakingly created to provide a wildlife corridor



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along the Rio Grande River. The tracts of land that make up the wildlife corridor are slowly being

connected and restored for the benefit of wildlife. The tracts include land managed by private

landowners, nonprofit organizations, the State of Texas, and two other National Wildlife Refuges,

Laguna Atascosa and Santa Ana.

        18.     Frontera Audubon’s members regularly visit the various tracts that make up the

wildlife corridor, including those along the Rio Grande River, to view birds and other wildlife. If

the proposed border wall and accompanying 150 foot enforcement zone are constructed, Frontera

Audubon members will be cut off from access to many of these areas because they will be south

of the wall. Further, construction of the border wall and accompanying enforcement zone will

require the destruction of a significant portion of the small amount of remaining habitat along the

river. Many of the birds and other wildlife that inhabit the wildlife corridor are dependent on access

to brush that is in close proximity to water. Construction of the border wall will trap wildlife on

one side of the wall or the other, and will allow no escape route for terrestrial wildlife when the

Rio Grande is in flood conditions, which happens approximately every 10 years. The sliver of

wildlife-sustaining brush and forest along the river will be significantly impacted by further border

wall construction and its associated clearing, lighting, and traffic. The ability of Frontera

Audubon’s members to birdwatch and experience nature along the river will be severely curtailed.

        19.     Defendant Donald J. Trump is the President of the United States and issued the

Declaration of National Emergency challenged in this complaint. Plaintiffs sue President Trump

in his official capacity.

        20.     Defendant Patrick M. Shanahan is the Acting Secretary Defense and is sued in his

official capacity. He is the highest ranking official at the U.S. Department of Defense, and is

charged with the supervision and management of the decisions and actions of that agency.



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                                         BACKGROUND

        21.    During the 2015–2016 presidential campaign, candidate Donald Trump inspired

attendees at his campaign rallies to chant “Build that wall.” Although the border with Mexico is

approximately 2,000 miles long, he stated that the wall along that border would be 1,000 miles

long.

        22.    Candidate Trump repeatedly stated during his campaign that Mexico would pay for

the border wall he described.

        23.    On becoming President, Donald Trump learned that he could not force either

Mexico or the United States Congress to pay for a 1,000-mile border wall. President Trump

nonetheless has continued to insist that he will build the wall.

        24.    In 2017, Congress appropriated $1.6 billion for new and replacement fencing along

the border, but not for the wall prototypes requested by the President.

        25.    In 2018, the President asked Congress to appropriate $5.7 billion for construction

of 234 miles of steel border wall. Congress did not pass appropriations bills including those

requested funds.

        26.    On December 21, 2018, the President allowed portions of the federal government

to shut down, rather than approve an appropriations bill that did not include the funding he

requested for a border wall.

        27.    On February 14, 2019, Congress passed an appropriations bill that provides $1.375

billion for 55 miles of new fence along the border in Texas. Despite the President’s repeated

requests for $5.7 billion for 234 miles of steel wall, and despite the President’s earlier decision

allowing the government to shut down because Congress declined to appropriate money for that

wall, Congress again appropriated no money for a steel wall.



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Declaration of a National Emergency and Invocation of Statutory Authority

        28.    On February 15, 2019, the President signed the appropriations bill into law. That

same day, he signed a proclamation declaring a national emergency under the National

Emergencies Act (NEA).

        29.    The NEA provides: “With respect to Acts of Congress authorizing the exercise,

during the period of a national emergency, of any special or extraordinary power, the President is

authorized to declare such national emergency.” 50 U.S.C. § 1621.

        30.    The NEA authorizes the president to access “special or extraordinary power”

conferred by Congress for use during a national emergency only when a national emergency exists.

        31.    In answering a press question about the Declaration, the President conceded that

the situation at the southern border does not require a declaration of national emergency. He stated:

“I could do the wall over a longer period of time. I didn’t need to do this, but I’d rather do it much

faster.”1

        32.    The Declaration invokes authority provided under 10 U.S.C. § 2808, which

authorizes the Secretary of Defense, in the event that the President declares a national emergency

under the NEA, to undertake military construction projects not otherwise authorized by law, using

funds appropriated for military construction and that have not been otherwise obligated.

        33.    Not only is the necessary predicate for invocation of section 2808—a lawful

declaration of a national emergency—absent here, but the specific requirements of section 2808

are also not satisfied: The planned border wall is not a “military construction project” that is

“necessary to support … use of the armed forces.” 10 U.S.C. § 2808(a).



        1
        https://www.axios.com/trump-national-emergency-didnt-need-to-do-this-66a1dd89-69
95-4be8-a215-058a12ada689.html.

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        34.      A White House fact sheet issued on February 15, 2019, stated that, in addition to

invoking section 2808, the President would direct, under 10 U.S.C. § 284, that as much as $2.5

billion appropriated to the Department of Defense be transferred to provide funding for the wall.

        35.      Section 284(b) authorizes allocation of funds appropriated to the Department of

Defense to support counterdrug activities of other agencies, on notification of relevant

congressional committees. In particular, section 284(b)(7) allows the Secretary of the Department

to authorize funding of antidrug agencies’ “[c]onstruction of roads and fences and installation of

lighting to block drug smuggling corridors across international boundaries of the United States.”

        36.      The authorization to transfer funds to construct fencing to block drug smuggling

does not authorize use of transferred funds for the construction of the planned border wall.

Immigration across the Southern Border

        37.      No national emergency exists with respect to immigration across the southern

border of the United States.

        38.      Migration through the southern border is not sudden or unforeseen.

        39.      Significant immigration across the border dates back more than 100 years, and the

current rate is lower than the average over the past decade.

        40.      Combining several methods of estimating unlawful border crossings, the

Department of Homeland Security (DHS) calculated a “91 percent decline” in such crossings over

the period 2000 to 2016: “1.8 million aliens successfully crossed the border in 2000, versus

170,000 in 2016.” DHS Office of Immigration Statistics, Efforts by DHS to Estimate Southwest

Border Security between Ports of Entry 17 (Sept. 2017) (“DHS 2017 Estimate”).2



        2
            https://www.dhs.gov/sites/default/files/publications/17_0914_estimates-of-border-secu
rity.pdf.

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       41.      CBP reported a 76 percent decline in the number of apprehensions (which is one

measure of illegal border crossings) between the peak in 2000 and 2018. Compare CBP, Southwest

Border Migration FY2019,3 with U.S. Border Patrol, Southwest Border Sectors: Total Illegal Alien

Apprehensions by Fiscal Year.4

       42.      According to CBP, 396,579 persons were arrested for attempting to cross illegally

along the southwest border in the year ending October 1, 2018, as compared to an average of

400,571 per year over the previous decade, and an average of 413,377 apprehensions per year

during President Obama’s administration. See CBP, Southwest Border Migration FY20195; CBP,

Southwest Border Sectors.6

       43.      Although the number of arrests of people for attempting to illegally cross the border

was higher in 2018 than in 2017, it is lower than the number of border arrests in 2016, 2014, and

2013. See CBP, Southwest Border Sectors. And the number in 2017 was the lowest since 1971.

Id.

       44.      DHS has explained that “deterrence essentially is just as important as apprehensions

in preventing illegal” immigration, and that deterrence rates—measured based on the number of

deportees who express an intention to return to the United States within 7–90 days—have been

high and stable for several years. DHS 2017 Estimate at 11.

       45.      According to DHS estimates, the growth of the population of immigrants illegally

in this country has slowed considerably. The population increased by 470,000 per year from 2000


       3
           https://www.cbp.gov/newsroom/stats/sw-border-migration.
       4
       https://www.cbp.gov/sites/default/files/assets/documents/2017-Dec/BP%20Southwest
%20Border%20Sector%20Apps%20FY1960%20-%20FY2017.pdf.
       5
           https://www.cbp.gov/newsroom/stats/sw-border-migration.
       6
       https://www.cbp.gov/sites/default/files/assets/documents/2017-Dec/BP%20Southwest%
20Border%20Sector%20Apps%20FY1960%20-%20FY2017.pdf.

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to 2007, but only by 70,000 per year from 2010 to 2015. DHS, Population Estimates: Illegal Alien

Population Residing in the United States: January 2015, at 3, 12 (Dec. 2018).7 Moreover, the vast

majority of people living in the country illegally have been here for 10 years or more. According

to DHS, in 2015, nearly 80 percent of such individuals had lived in the U.S. for more than a decade,

and only six percent had lived in the U.S. for fewer than five years. Id. at 4. In addition, a 2017

report found that “[n]early twice as many left the undocumented population from Mexico than

arrived in the 2008 to 2015 period—1.7 million left the population and 900,000 arrived.” Robert

Warren, Zero Undocumented Population Growth Is Here to Stay and Immigration Reform Would

Preserve and Extend These Gains, 5 J. Migr. & Human Soc’y 491, 492 (2017).8

       46.      Undocumented immigrants are arrested for and convicted of crimes at significantly

lower rates than native-born Americans. See, e.g., Alex Nowrasteh, Criminal Immigrants in Texas:

Illegal Immigrant Conviction and Arrest Rates for Homicide, Sex Crimes, Larceny, and Other

Crimes, Cato Institute (Feb. 26, 2018).9

       47.      The President’s assertions that immigration poses a threat have rested in part on

claims that criminals are crossing the southern border.10 However, “[a]s a percentage of their

respective populations, there were 50 percent fewer criminal convictions of illegal immigrants than

of native-born Americans in Texas in 2015.” Alex Nowrasteh, supra. “The criminal conviction

rate for legal immigrants was about 85 percent below the native-born rate.” Id.



       7
           https://www.dhs.gov/sites/default/files/publications/18_1214_PLCY_pops-est-report.
pdf.
       8
           https://journals.sagepub.com/doi/pdf/10.1177/233150241700500214.
       9
         https://www.cato.org/publications/immigration-research-policy-brief/criminal-immig
rants-texas-illegal-immigrant.
       10
           Donald J. Trump, Official Tweet, January 5, 2019 (accessed Feb. 4, 2019), available at
https://twitter.com/realdonaldtrump/status/1081570073867927557.

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       48.       States with larger shares of undocumented immigrants tended to have lower crime

rates than states with smaller shares in the years 1990 through 2014. “Increases in the

undocumented immigrant population within states are associated with significant decreases in the

prevalence of violence.” Michael Light, Does Undocumented Immigration Increase Violent

Crime?, 56 J. of Criminology 370 (May 2018).

       49.       Although about 17,000 adults encountered by border security officials in fiscal year

2018 had at least one past criminal conviction at the time of their apprehension (down from 19,000

in 2017, and 27,000 in 2016),11 data from CBP reveals that, in 2018, about 60 percent of those

individuals were apprehended at lawful ports of entry—not between them.12 Of the remaining

6,000 or so individuals, nearly half of their criminal convictions were for unlawfully crossing the

border in the past.13

       50.       The Department of State reported in 2017 that there is “no credible information that

any member of a terrorist group has traveled through Mexico to gain access to the United States.”14

Consistent with that statement, one study, canvassing all terror attacks on U.S. soil between 1975

and 2015, found that the chance of being murdered in the United States by a terrorist attack

committed by an undocumented immigrant is 1 in 10.9 billion. See Alex Nowrasteh, Terrorism

and Immigration, Cato Institute, at 5 (Sept. 13, 2016).15


       11
          See https://www.cbp.gov/newsroom/stats/cbp-enforcement-statistics (data through
August 31, 2018).
       12
            See https://www.cbp.gov/newsroom/stats/cbp-enforcement-statistics.
       13
             See https://www.cbp.gov/newsroom/stats/cbp-enforcement-statistics/criminal-alien-
statistics (reporting that 3,637 of the 7,820 past convictions—about 46.5%—were for illegal
reentry).
       14
          U.S. Dep’t of State, Bureau of Counterterrorism, Country Reports on Terrorism 2016,
at 290 (July 2017), https://www.state.gov/documents/organization/272488.pdf.
       15
            https://object.cato.org/sites/cato.org/files/pubs/pdf/pa798_2.pdf.

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        51.       According to a 2018 report by the Drug Enforcement Administration, most heroin

smuggled into the country is brought in vehicles through “legal ports of entry, followed by tractor-

trailers, where the heroin is co-mingled with legal goods.” DEA, 2018 National Drug Threat

Assessment, 19 (Oct. 2018).16

        52.       The foregoing facts concerning immigration across the southern border render the

President’s Declaration that the absence of a wall in the areas where construction is planned is an

“emergency” within the meaning of 50 U.S.C. § 1621 legally untenable and an impermissible basis

for seeking to obligate funds that Congress has refused to appropriate for a border wall.

                                      FIRST CAUSE OF ACTION

             (Non-statutory review of ultra vires action; violation of separation of powers)

        53.       Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official

action that is ultra vires.

        54.       Article I, Section 1 of the Constitution assigns the role of making laws to Congress,

and Article I, Section 9 specifies that “[n]o Money shall be drawn from the Treasury, but in

Consequence of Appropriations made by Law.”

        55.       Federal legislation, including laws appropriating money, must be passed by both

chambers of Congress before it may be presented to the President and, if signed, become law. U.S.

Const., art. I.

        56.       In 2017 and 2018, Congress declined to appropriate money for a border wall.




        16
         https://www.dea.gov/sites/default/files/2018-11/DIR-032-18%202018%20NDTA%20
final%20low%20resolution.pdf.

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        57.     The Constitution vests executive power in the President. U.S. Const., art. II. The

President of the United States has only those powers conferred on him by the Constitution and

federal statutes.

        58.     The president has no inherent authority to declare emergencies to override

appropriations laws and other laws enacted by Congress; his emergency powers are defined and

limited by statute.

        59.     Because no national emergency exists with respect to immigration across the

southern border, the President’s Declaration exceeds the limited authority delegated to the

President to declare national emergencies and invoke specific statutory powers conferred by

Congress to act in such an emergency.

        60.     Because the emergency declaration is unlawful, the President lacks statutory

authority to direct the spending of funds for that purpose; the expenditure of monies from the

United States Treasury for a border wall for which Congress has refused to appropriate funds

violates Article I of the Constitution.

        61.     Because no national emergency exists with respect to immigration across the

southern border, the President’s invocation of emergency powers through the Declaration usurps

legislative authority conferred by the Constitution on the Congress.

        62.     The Declaration and invocation of emergency powers pursuant to the Declaration

violate the separation of powers.




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        63.     Plaintiffs and members of Frontera Audubon will suffer irreparable injury if the

Declaration and invocation of authority under 10 U.S.C. § 2808 are not declared unlawful, and

plaintiffs and members of Frontera Audubon have no adequate remedy at law.

                                  SECOND CAUSE OF ACTION

           (Non-statutory review of ultra vires action; violation of separation of powers)

        64.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official

action that is ultra vires.

        65.     In the Declaration, the President declared that the “emergency” requires use of the

Armed Forces and invoked the construction authority provided by 10 U.S.C. § 2808.

        66.     Because the requirements for invocation of 10 U.S.C. § 2808 are not satisfied,

reliance on section 2808 to authorize use of funds appropriated for other purposes usurps

legislative authority conferred by the Constitution on the Congress.

        67.     President’s direction to use the authority set forth in 10 U.S.C. § 2808 for the

purpose of constructing a border wall is ultra vires and violates the separation of powers.

        68.     Plaintiffs and members of Frontera Audubon will suffer irreparable injury if the

invoke 10 U.S.C. § 2808 is not declared unlawful, and plaintiffs and members of Frontera Audubon

have no adequate remedy at law.

                                   THIRD CAUSE OF ACTION

           (Non-statutory review of ultra vires action; violation of separation of powers)

        69.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official

action that is ultra vires.

        70.     Because transferring funds to construct a border wall is not authorized by 10 U.S.C.

§ 284, the President’s direction to use Defense Department funds appropriated for other purposes



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for the purpose of constructing a border wall directs action contrary to law and usurps legislative

authority conferred by the Constitution on the Congress.

        71.     The President’s direction to transfer funds pursuant to 10 U.S.C. § 284 for the

purpose of constructing a border wall is ultra vires and violates the separation of powers.

        72.     Plaintiffs and members of Frontera Audubon will suffer irreparable injury if the

direction to transfer funds pursuant to 10 U.S.C. § 284 is not declared unlawful, and plaintiffs and

members of Frontera Audubon have no adequate remedy at law.

                                  FOURTH CAUSE OF ACTION

           (Non-statutory review of ultra vires action by defendant Secretary of Defense)

        73.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official

action that is ultra vires.

        74.     The Secretary of Defense may act only pursuant to authority lawfully delegated by

Congress or the President.

        75.     When declaring a national emergency, the President declared that the “emergency”

requires use of the Armed Forces and invoked the construction authority provided by 10 U.S.C.

§ 2808.

        76.     Because the requirements for invocation of 10 U.S.C. § 2808 are not satisfied,

reliance on section 2808 to authorize use of funds appropriated for other purposes usurps

legislative authority conferred by the Constitution on the Congress.

        77.     Use of military construction funds pursuant to 10 U.S.C. § 2808 to construct a

border wall violates the separation of powers.

        78.     Plaintiffs and members of Frontera Audubon will suffer irreparable injury if the

Secretary of Defense takes action to build a wall in reliance on the Declaration or in implementing



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the President’s direction to use military construction funds pursuant to 10 U.S.C. § 2808, and

plaintiffs and members of Frontera Audubon have no adequate remedy at law.

                                     FIFTH CAUSE OF ACTION

            (Non-statutory review of ultra vires action by defendant Secretary of Defense)

          79.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official

action that is ultra vires.

          80.     The Secretary of Defense may act only pursuant to authority lawfully delegated by

Congress or the President.

          81.     Because transferring funds to construct a border wall is not authorized by 10 U.S.C.

§ 284, implementation of the President’s direction to do so would exceed the authority of the

Secretary of Defense under that statute, and would be ultra vires, arbitrary, capricious, and contrary

to law.

          82.     Plaintiffs and members of Frontera Audubon will suffer irreparable injury if the

Secretary of Defense takes action to build a wall in reliance on the Declaration or in implementing

the President’s direction to transfer funds pursuant to 10 U.S.C. § 284, and plaintiffs and members

of Frontera Audubon have no adequate remedy at law.

                                        PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court:

          (A)     Declare the Declaration, and the President’s direction that the Defense Department

reallocate funds to support construction of a border wall under 10 U.S.C. §§ 284 and 2808, to be

in excess of presidential authority under Article II of the Constitution, an infringement on

legislative authority, and invalid; and




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       (B)     Declare that defendants cannot lawfully use Defense Department funds for

construction of a border wall under 10 U.S.C. § 284 or § 2808;

       (C)     Enjoin defendant Shanahan from taking action to build a wall using Defense

Department funds under 10 U.S.C. §§ 284 and 2808, or on any basis that depends on the

President’s unlawful emergency declaration;

       (D)     Grant such other relief as this Court may deem just and proper.

Dated: February 15, 2019                      Respectfully submitted,

                                            /s/ Allison M. Zieve
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